  UNITED STATES DISTRICT COURT
Case 1:05-md-01720-MKB-JO Document 7444 Filed 05/13/19 Page 1 of 2 PageID #: 109645
  EASTERN DISTRICT OF NEW YORK                                          filed
                                                                                        U.S. DlSTRf^COURT E.D.N.Y.
  In re PAYMEOT CARD INTERCHANGE
  FEE Alto MERCHANT DISCOUNT                                      No.05-MD-01720(1^)^)^ ^                     ^
  ANTITRUST LITIGATION
                                                                                           BROOKLYN OFFICE

   STATF.MF.NT of OBJECTIONS OF CLASS MEMBER IFILL IN COMPANY NAMEI

         LEATHERS ENTERPRISES, INC. (hereinafter "Company") accepted Visa and
  Mastercard transaction cards between 2004 and the present date. Company is a member of the
  Rule 23(b)(3) settlement class in this case, and it has not engaged in any other settlement of its
  claims against Visa and/or Mastercard. Company hereby submits its objections to the proposed
  settlement preliminarily approved by the Court in January ofthis year.

         Company is located at 255 DEPOT ST,FAIRVIEW,OR 97024. Company is a petroleum
  marketer engaged in the wholesale and retail sale of branded motor fuels. Since 2004, it has
  accepted Visa and Mastercard transaction cards at retail service station and convenience store
  locations. Motor fuels at these locations have been sold under the Shell brands since 2004,and the
  credit card transactions at each location were processed by the applicable branded supplier.

          Company is concemed that the Court will concur in the arguments of Defendants that
  certain major oil company branded suppliers are entitled to file claims against the settlement fund
  for transactions at retail locations where Company accepted the applicable Visa or Mastercard
  transaction cards and paid the interchange fees. Company understands that the Court has indicated
  that class counsel cannot represent both the branded suppliers and branded marketers, like
  Company, because only one of the two groups is entitled to settlement funds attributable to
  Company's retail locations. None of the class representatives were branded marketers, and
  branded marketer interests were not represented when the settlement was negotiated. Nor are they
  adequately represented now by a conflicted class counsel who are incapable of asserting branded
  marketer interests when they conflict with the interests of major oil companies.

          As of now. Company is totally in the dark as to whether, having accepted the cards and
  paid the interchange fees, it is part ofthe settlement class, whether it is entitled to a full or partial
  recovery,or whether any meclmnism is in place to sort all ofthis out. Nothing in the Class Notice
  states whether Company or its branded supplier(whose fuel Company sells) have a right to recover
  for transactions at these locations. In short. Company is concemed that it is being deprived of its
  legal right to fully participate in the settlement.

         In addition to not knowing what recovery Company may be entitled to as part ofthe class
  settlement, we do not believe that proper efforts are being made to notify branded marketers, like
  Company,so that they can object to the settlement. Although Company was sent a Class Notice
  from the Claims Administrator,other branded petroleum marketers have received no notice
  even though they accepted the cards,and paid the fees, during the relevant period.
          The names and addresses
Case 1:05-md-01720-MKB-JO         ofbranded7444
                                 Document    petroleum
                                                   Filedmarketers,
                                                          05/13/19 like Company,
                                                                     Page         can be obtained
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  by the Claims Administrator from the branded suppliers.

          Branded marketers should be informed now whether a procedural mechanism will be put
   in place, to determine whether, and to what extent, branded marketers will participate in the
   settlement, what evidence they need to present, and whether there will be procedural hurdles they
   need to overcome to claim their rights as class members. Unless and until these issues are
   addressed and properly resolved by the Court, Company respectfully objects to the class
   settlement.


                                               Respectfully submitted,

                                               LEATHERS ENTERPRISES,INC.

                                               By: LILA C.LEATHERS


                                               PRESroENT
